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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                               )
                                                     )
Sklar Exploration Company, LLC and.                  )       Bankruptcy Case No. 20-12377-EEB
Sklarco, LLC                                         )       Chapter 11
                                                     )
                Debtors.                             )
                                                     )

                NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

        Pursuant to Local Bankruptcy Rule 9010-1 and Federal Rule of Bankruptcy Procedure
9010, Bryce A. Suzuki, Esq. of Bryan Cave Leighton Paisner LLP hereby enters his appearance
in the within captioned matter on behalf of East-West Bank.

       Counsel respectfully requests that all notices, pleadings, motions, orders, applications,
and other documents filed and/or served in this case be sent to the following address:

                                      Bryce A. Suzuki, Esq.
                                Bryan Cave Leighton Paisner LLP
                              Two North Central Avenue, Suite 2100
                                    Phoenix, AZ 85004-4406
                                       Tel. (602) 364-7000
                                      Fax: (602) 364-7070
                               E-mail: bryce.suzuki@bclplaw.com

         Dated this 8th day of April, 2020.



                                       s/ Bryce A. Suzuki
                                       Bryce A. Suzuki, AZ Bar No. 022721
                                       BRYAN CAVE LEIGHTON PAISNER LLP
                                       Two North Central Avenue, Suite 2100
                                       Phoenix, AZ 85004-4406
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                                       Email: bryce.suzuki.schuenemann@bclplaw.com

                                       ATTORNEYS FOR EAST-WEST BANK
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                                CERTIFICATE OF MAILING

        The undersigned hereby certifies that on this 8th day of April, 2020, a true and correct
copy of the foregoing NOTICE OF APPEARANCE AND REQUEST FOR NOTICE was
filed and served via ECF on all attorneys of record:

Jeffrey S. Brinen
Lee M. Kutner
Keri L. Riley
1660 Lincoln Street
Suite 1850
Denver, CO 80264
Attorneys for Debtors Sklar Exploration Company, LLC and Sklarco, LLC

Paul Moss
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Denver, CO 80294
Attorney for U.S. Trustee



                                              /s/ Cristina Daniels
                                              Cristina Daniels, Legal Administrative Assistant
                                              Bryan Cave Leighton Paisner LLP




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